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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF TEXAS
                             DALLAS DIVISION

UNITED STATES OF AMERICA,             §
                                      §
                        Plaintiff,    §
                                      §   Criminal No. 3:08-CR-267-D
VS.                                   §
                                      §
FREDERICK R. KAY (18),                §
                                      §
                        Defendant.    §

                            MEMORANDUM OPINION
                                AND ORDER

      Plaintiff United States of America (the “government”) moves to

revoke the magistrate judge’s order setting conditions for the

release of defendant Frederick R. Kay (“Kay”).                The court has

reviewed de novo the evidence presented at the hearing, including

the tape of the detention hearing,1 and it finds by clear and

convincing evidence2 that no condition or combination of conditions

will reasonably assure the safety of any other person and the


      1
      “When the district court, pursuant to 18 U.S.C. § 3142(b),
acts on a motion to revoke or amend a magistrate’s pretrial
detention order, the court acts de novo and makes an independent
determination of the proper pretrial detention or conditions for
release.” United States v. Fortna, 769 F. 2d 243, 249 (5th Cir.
1985).   The court’s review of the record developed before the
magistrate judge is an appropriate procedure to comply with that
obligation. See, e.g., United States v. Farguson, 721 F. Supp.
128, 129 n.1 (N.D. Tex. 1989) (Fitzwater, J.).
      2
      The court applies a clear and convincing evidence standard in
determining that no condition or combination of conditions will
reasonably assure the safety of the community. See 18 U.S.C. §
3142(f)(2)(“The facts the judicial officer uses to support a
finding pursuant to subsection (e) that no condition or combination
of conditions will reasonably assure the safety of any other person
and the community shall be supported by clear and convincing
evidence.”)
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community if Kay is released on bond.3              Accordingly, pursuant to 18

U.S.C. § 3142(e), the court orders that Kay be detained pending

trial.

                                          I

     Kay is charged by indictment with one count of conspiracy to

possess with intent to distribute and distribute more than five

kilograms of a mixture and substance containing a detectable amount

of cocaine, a Schedule II controlled substance, in violation of 21

U.S.C.   §    846,    and   one   count       of   conspiracy      to   commit    money

laundering, in violation of 18 U.S.C. § 1956.4                      Following Kay’s

arrest, the government moved to detain him, both as a flight risk

and as a danger to the community.

     At the detention hearing, a special agent of the U.S. Drug

Enforcement Administration (“DEA”) testified that, during the

course   of    a     long-term    investigation,           which   included      court-

authorized wire intercepts of the Hector Rodriguez (“Rodriguez”)

drug trafficking organization, DEA agents witnessed a narcotics

transaction on August 26, 2008 between Kay and one of Rodriguez’s

couriers.      Specifically, on August 26 agents observed one of


     3
      Because the court is ordering Kay detained on this basis, it
need not decide whether he is a flight risk. See Fortna, 769 F. 2d
at 249 (“[T]he lack of reasonable assurance of either the
defendant’s appearance or the safety of others or the community is
sufficient [to detain a defendant without bond]; both are not
required.”).
     4
      The   indictment        also     contains        a     criminal       forfeiture
allegation.

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Rodriguez’s       couriers       arrive   at,     and   depart     from,     the     stash

location.         Based     on    intercepted      telephone       calls     and     prior

surveillance of narcotics deals, agents believed the courier was

headed to Hamm’s Tire Shop to meet with, and distribute illegal

narcotics     to,    other       individuals.           At   the    tire     shop,    DEA

surveillance observed Rodriguez’s courier meet Kay and transfer

four cardboard boxes to Kay, who then placed the boxes into an

automobile.         Dallas       Police   Department         officers      stopped    the

automobile    a     short    time    later,     discovering        approximately       100

kilograms of a substance that field-tested positive as cocaine.5

Based on the investigation, one kilogram of cocaine sold for

approximately $20,000.           Therefore, the amount of drugs seized from

Kay had a street value of approximately $2 million.

     Kay’s brother, Lonnie Ferguson (“Ferguson”), testified that

Kay was born in Dallas and has lived in Dallas all his life, that

many of his family members still live in the area, and that Kay is

not a flight risk.          Ferguson stated that Kay, who is unemployed,

supports himself by doing “various jobs,” including lawn care,

construction work, and moving work.6               He agreed to be a third-party

custodian and to assist Kay in making court appearances.                       Ferguson



     5
      The substance is currently at the DEA laboratory for a
complete analysis.
     6
      The court does not find credible Ferguson’s testimony that
Kay supports himself through “various jobs,” such as lawn,
construction, or moving work.

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also testified that he had been convicted of possession of a

controlled substance offense (cocaine), and had been released from

parole in 2006.

     During the hearing, the magistrate judge took judicial notice

of Kay’s Pretrial Services Report, which showed a criminal history

extending from 1980 to 1996, and included a five-year Texas state

sentence in 1990 for possession of a controlled substance (cocaine)

and a parole revocation in 1992.

     Following     the    hearing,      the   magistrate     judge       ordered    Kay

released    on   the   conditions,       inter    alia,     that    he     remain    in

Ferguson’s custody and participate in the home confinement program,

with electronic monitoring.            The magistrate judge concluded that

these conditions are sufficient to assure Kay’s appearance as

required and the safety of the community, given Kay’s close family

and community ties to Dallas and his lack of problems with the law

for 12 years——from 1996 until now.

     The court stayed Kay’s release on September 29, 2008 so that

the government could seek review of the order, and the government

now moves for review and revocation of the order.

                                         II

                                          A

     An    individual     shall   be    released     pending       trial    unless    a

judicial   officer     finds    that    “no     condition    or    combination       of

conditions will reasonably assure the appearance of the person as


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required and the safety of any other person and the community.” 18

U.S.C.   §   3142(e).        Kay    is   charged    with     a    violation    of    the

Controlled Substances Act, 21 U.S.C. § 801 et seq.                    Specifically,

he is charged with conspiracy under 21 U.S.C. § 846, punishable

under 21 U.S.C. § 841(b)(1)(A) by imprisonment for a period that

“may not be less than 10 years.”                Under the Bail Reform Act, the

existence of probable cause——here, the grand jury indictment——to

believe that Kay committed this offense creates a rebuttable

presumption that no condition or combination of conditions will

reasonably assure the safety of any other person and the community.

18 U.S.C. § 3142(e). “The presumption shifts to the defendant only

the burden of producing rebutting evidence, not the burden of

persuasion.”       United States v. Hare, 873 F. 2d 796, 798 (5th Cir.

1989).       The   mere    production      of    evidence,       however,   does     not

completely     rebut      the   presumption.         In     making    its     ultimate

determination,      “the    court    may    still    consider       the    finding    by

Congress that drug offenders pose a special risk of flight and

dangerousness to society.”           Id. at 798-99.

                                           B

     Because an indictment provides probable cause that a defendant

committed an offense, see United States v. Trosper, 809 F. 2d 1107,

1110 (5th Cir. 1987), Kay’s indictment for violating 21 U.S.C.

§ 846 (punishable under 21 U.S.C. § 841(b)(1)(A)) is sufficient to

trigger the statutory presumption that no condition or combination


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of conditions will reasonably assure the safety of any other person

and the community.     See id. (holding that presumption was properly

applied to defendant upon proof that he had been indicted under 21

U.S.C. § 846).

                                        C

     The court finds that Kay has produced sufficient evidence to

rebut the presumption of danger to the community. See Trosper, 809

F.2d at 1110 (“[T]he burden imposed on the defendant is the

production of evidence supportive of the point for which it is

offered”).     Through his cross-examination of the DEA agent, Kay

produced evidence that supports the inference that he would not

continue to engage in drug trafficking if released on bail.7               This

testimony establishes that the boxes Kay picked up from Rodriguez’s

courier on August 26 were cardboard U-haul boxes, that the agents

did not observe any money changing hands between Kay and the

courier, and that even though an arrest would have been authorized

under Texas law if the agents had witnessed a felony, no arrest was



     7
      In addition to testifying that he had known Kay all his life
and that he was shocked to learn of his possession of 100 kilograms
of cocaine, Ferguson testified that he did not believe Kay would
pose a danger to the community. This evidence, however, is not
probative of the absence of dangerousness and is not sufficient to
rebut the presumption. See United States v. Kay, 82 F. 3d 415,
1996 WL 167512, at *2 n.6 (5th Cir. 1996) (unpublished table
decision) (“The proffered conclusory statements to be made by life-
long acquaintances of the [defendants] (who are unaware of their
drug trafficking) that the [defendants] are no danger to the
community are not probative of the [defendants’] dangerousness.”)


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made when Kay retrieved the boxes. This testimony also establishes

that, except for the August 26 exchange, the agents had never

witnessed Kay in the presence of any of the alleged conspirators

and that the agents had never intercepted a communication in which

Kay agreed to transfer drugs or accepted money to transfer drugs.

As   such,   this      evidence   undermines     Kay’s    alleged       intentional

involvement with the Rodriguez drug trafficking organization, and

therefore supports the premise that he will not continue to engage

in drug trafficking, if released.

                                          D

      Although Kay has adduced evidence sufficient to overcome the

presumption, the court finds from clear and convincing evidence

that no condition or combination of conditions will reasonably

assure the safety of any other person and the community. “The risk

of continued narcotics trafficking on bail constitutes a risk to

the community.”        Hare, 873 F.2d at 798.       Despite the fact that Kay

rebutted     the    presumption    of     danger    to    the   community,      the

presumption still carries evidentiary weight.              Id. at 798-99.       The

government has also produced clear and convincing evidence that

there is a risk of continued narcotics trafficking if Kay is

released on bail.       On August 26 Kay was found with 100 kilograms of

cocaine with an approximate street value of $2 million.                        This

evidence strongly indicates that Kay was a trusted member of the

conspiracy.        Moreover, there is reason to believe that Kay’s


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connection to the drug conspiracy is not just limited to the August

26 incident.      The government has shown that, on two separate

occasions, DEA agents intercepted conversations between Rodriguez

and a courier discussing a drug transaction involving “black guys

in the white [Chevy Trailblazer],” and then later observed meetings

between a courier and a black man matching this description.

Although the government cannot positively say that the black man

agents   observed      meeting   with    the   drug      courier   on    these   two

occasions is Kay, the agents did follow the white Trailblazer to

the address listed on Kay’s driver license. Therefore, even if the

man the agents observed was not Kay, it is clear that conspiracy

“connections [are] still . . . readily available to him,” see

United States v. Jefferson, 40 F.3d 385, 1994 WL 652531, at *2 (5th

Cir. 1994) (per curiam) (unpublished table decision), and Kay’s

unemployed status makes it much more likely that he will return to

those connections, if released.           Finally, the seriousness of the

offense and Kay’s criminal history, which includes a conviction for

possession of a controlled substance, a conviction for unlawfully

carrying a weapon, and revocation of parole, militate against

release.

     After considering all the factors set forth in § 3142(g), the

court finds clear and convincing evidence that Kay is likely to be

a danger to any other person and the community unless detained

pending trial.


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                                        III

     Accordingly, the government’s September 30, 2008 motion for

review   and   revocation     of   release     order     is   granted,    and   the

magistrate judge’s September 29, 2008 order setting conditions for

Kay’s release is revoked.           The court orders that Kay be held

without bond pending the trial of this action as follows.                    He is

committed to the custody of the Attorney General for confinement in

a corrections facility separate, to the extent practicable, from

persons awaiting or serving sentences or being held in custody

pending appeal.        He is to be afforded reasonable opportunity for

private consultation with his counsel.           By order of this court, to

be issued in the future, the person in charge of the corrections

facility in which Kay is confined is to deliver him to a United

States Marshal for the purpose of appearing in connection with any

court proceeding.

     SO ORDERED.

     October 1, 2008.



                                       _________________________________
                                       SIDNEY A. FITZWATER
                                       CHIEF JUDGE




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